                              Case 23-11662-KBO                       Doc 1        Filed 10/03/23            Page 1 of 14

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                        Delaware
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Lodo Therapeutics Corporation
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                      XX-XXXXXXX
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business
                                                  1440       Stanford Avenue                               _______________________________________________
                                              ______________________________________________
                                              Number     Street                                            Number     Street

                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box
                                                  Emeryville                   CA         94608
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




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Debtor         Lodo Therapeutics Corporation
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5417
                                              __ __ __ __

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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Debtor          Lodo Therapeutics Corporation
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases             No
      pending or being filed by a                       See Exhibit A (attached)
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have          No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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             Lodo Therapeutics Corporation
Debtor      _______________________________________________________                             Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                      Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14. Estimated number of
                                          50-99                              5,001-10,000                               50,001-100,000
     creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                            10   03/2023
                                             Executed on _________________
                                                         MM / DD / YYYY


                                            _____________________________________________
                                                                                                          Claire Smith
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                   Senior Vice President of Finance
                                             Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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Debtor       Lodo Therapeutics Corporation
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                                       /s/ Curtis S. Miller
                                          _____________________________________________            Date        10 03/2023
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                          Curtis S. Miller
                                         _________________________________________________________________________________________________
                                         Printed name
                                          Morris, Nichols, Arsht & Tunnell LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                         1201        North Market Street
                                         _________________________________________________________________________________________________
                                         Number     Street
                                          Wilmington
                                         ____________________________________________________             DE
                                                                                                         ____________  19899-1347
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                          (302) 658-9200
                                         ____________________________________                             cmiller@morrisnichols.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                          4583
                                         ______________________________________________________  DE
                                                                                                ____________
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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                                 Exhibit A to Voluntary Petition

                 Pending Bankruptcy Cases Filed by Affiliates of the Debtor

Concurrently herewith, each of the affiliated entities listed below, including the Debtor filing this
petition (collectively, the “Debtors”), filed a petition in this Court for relief under chapter 11 of
title 11 of the United States Code.

                    Zymergen Inc.
                    Lodo Therapeutics Corporation
                    enEvolv, Inc.
                    Genesis Acquisition Sub, LLC
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                   UNANIMOUS WRITTEN CONSENT OF THE
         BOARD OF DIRECTORS OF LODO THERAPEUTICS CORPORATION
                             OCTOBER 2, 2023

        The undersigned, all the members of the board of directors (the “Board”) of Lodo
Therapeutics Corporation, a Delaware corporation, (the “Company”), hereby waive all notice of
the time, place and purposes of a meeting of the Board and consent to the following actions and
adopt the following resolutions by written consent of the sole member of the Board in lieu of a
meeting in accordance with the provisions of Section 141(f) of the General Corporation Law of
the State of Delaware (“DGCL”) and the Bylaws of the Company and hereby waive any and all
notice which may be required by statute, the Bylaws or otherwise with respect to the actions taken
herein or pursuant hereto.

                 WHEREAS, the Board has reviewed and considered, among other things, the
financial and operational condition of the Company’s business on the date hereof, including the
historical performance of the Company, the assets of the Company, the current and long-term
liabilities of the Company, the strategic alternatives available to it and the impact of the foregoing
on the Company’s business;

             WHEREAS, the Board, following consultation with senior management of the
Company and legal, financial, and other advisors, unanimously approved entry into, and
performance under the transactions relating to the matters contemplated by the following
resolutions;

                WHEREAS, the Board has had the opportunity to consult with senior management
of the Company and the legal, financial, and other advisors of the Company and fully consider
each of the strategic alternatives available to the Company; and

               WHEREAS, the Board has received, reviewed, and considered the
recommendations of the senior management of the Company and the Company’s legal, financial,
and other advisors as to the relative risks and benefits of pursuing a bankruptcy proceeding (the
“Chapter 11 Case”), and has determined that, in its judgment, it is advisable and in the best interests
of the Company, its creditors, equity holders, employees and other interested parties that the
Company voluntarily file a petition (collectively, the “Petition”) for relief under chapter 11 of title
11 of the United States Code (the “Bankruptcy Code”);

               NOW, THEREFORE, BE IT RESOLVED, that the filing by the Company of the
Petition in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
Court”) be, and hereby is, authorized, approved, confirmed and adopted in all respects; and it is
further

               RESOLVED, that any officer of the Company (each, an “Authorized Person”), in
each case, acting individually or jointly, be, and each hereby is, authorized, empowered, and
directed, with full power of delegation, to negotiate, execute, verify, deliver, and file with the
Bankruptcy Court, in the name and on behalf of the Company, and under their corporate seals or
otherwise, the Petitions and all schedules, statements, motions, lists, applications, pleadings,
papers, affidavits, declarations, orders, plans, and other documents (collectively, the “Chapter 11
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Filings”) (with such changes therein and additions thereto as any such Authorized Person may
deem necessary, appropriate or advisable, the execution and delivery of any of the Chapter 11
Filings by any such Authorized Person with any changes thereto to be conclusive evidence that
any such Authorized Person deemed such changes to meet such standard); and it is further

               RESOLVED, that any Authorized Person, acting individually or jointly, be, and
each hereby is, authorized, empowered, and directed, with full power of delegation, in the name
and on behalf of the Company, to take and perform any and all further acts and deeds that such
Authorized Person deems necessary, appropriate, or desirable in connection with the Chapter 11
Case or the Chapter 11 Filings, including, without limitation, (i) the payment of fees, expenses and
taxes such Authorized Person deems necessary, appropriate, or desirable, and (ii) negotiating,
executing, delivering, performing and filing any and all additional documents, schedules,
statements, lists, papers, agreements, certificates and/or instruments (or any amendments or
modifications thereto) in connection with, or in furtherance of, the Company’s Chapter 11 Case
with a view to the successful prosecution of the Chapter 11 Case (such acts to be conclusive
evidence that such Authorized Person deemed the same to meet such standard); and it is further

                RESOLVED, that, with respect to the Company, any Authorized Person, any one
of whom may act without the joinder of any of the others, is hereby authorized, empowered and
directed, with full power of delegation, in the name and on behalf of the Company, to take and
perform any and all further acts or deeds, including, but not limited to (i) the engagement or
retention of such further accountants, counsel, consultants or advisors; (ii) the negotiation of such
additional agreements, amendments, modifications, supplements, reports, documents, instruments,
applications, notes or certificates not now known but which may be required; (iii) the execution,
delivery and filing (if applicable) of any of the foregoing; and (iv) the payment of all fees, consent
payments, taxes and other expenses; all of the foregoing, as any such Authorized Person, in his or
her sole discretion, may approve or deem necessary, appropriate or desirable in order to carry out
the intent and accomplish the purposes of the foregoing resolutions and the transactions
contemplated thereby, with all of such actions, executions, deliveries, filings and payments to be
conclusive evidence of such approval or that such Authorized Person deemed the same to meet
such standard; and it is further

               RESOLVED, that the Unanimous Written Consent to which these resolutions are
attached may be executed in one or more counterparts, each of which shall constitute an original
and all of which, when taken together, shall constitute one instrument and that any party receiving
an executed copy, facsimile or other electronic transmission (such as .pdf) of these resolutions may
rely thereon; and it is further

               RESOLVED, that any and all past actions heretofore taken by any Authorized
Person or any director of the Company in the name and on behalf of the Company in furtherance
of any or all of the preceding resolutions be, and the same hereby are, ratified, confirmed, and
approved in all respects.

             IN WITNESS WHEREOF, the undersigned, being the sole member of the Board
of the Company has executed this consent as of the date first set forth above. This action by
Unanimous Written Consent may be executed in one or more counterparts, each of which shall be

                                                  2
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deemed an original and all of which shall constitute one instrument.


                                                            /s/ Celeste Ferber
                                                            Celeste Ferber
                                                            Date: October 3, 2023


                                                            /s/ Claire Smith
                                                            Claire Smith
                                                            Date: October 3, 2023




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       Fill in this information to Identify the case:

    Debtor Name: Zymergen Inc., et al.
                                                                                                                                              Check if this is an
    United States Bankruptcy Court for the:             District of Delaware                                                                  amended filing
    Case Number (If known):




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 30 largest unsecured claims.


   Name of creditor and complete mailing        Name, telephone number,        Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                  and email address of           (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                creditor contact               debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                               professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                               services, and         or disputed     setoff to calculate unsecured claim.
                                                                               government
                                                                               contracts)
                                                                                                                     Total claim, if       Deduction          Unsecured
                                                                                                                     partially secured     for value of       claim
                                                                                                                                           collateral or
                                                                                                                                           setoff

   1       WILMER CUTLER PICKERING HALE         CONTACT: SUSAN MUCK            LEGAL FEES                                                                         $2,085,809.00
           AND DORR LLP                         PHONE: 628-235-1028
           ONE FRONT STREET, SUITE 3500         SUSAN.MUCK@WILMERHAL
           SAN FRANCISCO, CA 94111              E.COM
   2       BRE-BMR 5300 CHIRON LP               CONTACT: MARIE LEWIS           LEASE                                                                              $1,838,659.00
           4570 EXECUTIVE DRIVE, SUITE 400      LEGALREVIEW@BIOMEDREA
           ATTN: LEGAL DEPARTMENT               LTY.COM
           SAN DIEGO, CA 92121
   3       DPR CONSTRUCTION                     CONTACT: GEORGE PFEFFER        TRADE DEBT                U, D                                                       $863,757.00
           ATTN MIKE MARSTON                    FAX: 6504741451
           1450 VETERANS BLVD                   MIKEMA@DPR.COM
           REDWOOD CITY, CA 94063
   4       MORGAN LEWIS & BOCKIUS, LLP          CONTACT: CHARLENE              LEGAL FEES                                                                           $822,775.00
           ONE MARKET, SPEAR STREET TOWER       SHIMADA
           28TH FL                              PHONE: 415.442.1475
           SAN FRANCISCO, CA 94105-1596         CHARLENE.SHIMADA@MOR
                                                GANLEWIS.COM
   5       MORRISON FOERSTER                    CONTACT: JINA CHOI             LEGAL FEES                                                                           $435,795.00
           425 MARKET STREET                    PHONE: (415) 268-6274
           SAN FRANCISCO, CA 94105-2482         JCHOI@MOFO.COM
   6       CORTEVA AGRISCIENCE                  CONTACT: MARK PEDERSON TRADE DEBT                        U, D                                                       $209,016.00
           9330 ZIONSVILLE ROAD                 PHONE: 8332678382
           ATTN: GENERAL PATENT COUNSEL         LAURIE.YOSHIDA@CORTEVA.
           INDIANAPOLIS, IN 46268               COM
   7       SB JAMES CONSTRUCTION                CONTACT: SHAILESH NIGAM        TRADE DEBT                                                                           $193,463.00
           CALIFORNIA INC.                      PHONE: 9162908618
           1450 HALYARD DRIVE                   SILASNIGAM@SBJAMES.CO
           WEST SACRAMENTO, CA 95691            M




Official Form 204          Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                        Page 1
                                 Case 23-11662-KBO                   Doc 1      Filed 10/03/23               Page 11 of 14
  Debtor: Zymergen Inc., et al.                                                                Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                       professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                       services, and         or disputed     setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                             Total claim, if       Deduction          Unsecured
                                                                                                             partially secured     for value of       claim
                                                                                                                                   collateral or
                                                                                                                                   setoff

   8    GREENLIGHT BIOSCIENCES INC         CONTACT: ANDREY J ZARUR, TRADE DEBT                    C                                                         $171,530.00
        200 BOSTON AVE., SUITE 1000        PHD
        MEDFORD, MA 02155                  PHONE: 16176168188
                                           CONTACT@GREENLIGHTBIOS
                                           CIENCES.COM
   9    ARE-EAST RIVER SCIENCE PARK, LLC   CONTACT: JOEL S MARCUS LEASE                                                                                     $156,488.00
        26 NORTH EUCLID AVENUE,            PHONE: 6265780777
        PASADENA, CA 91101                 CORPORATEINFORMATION@
                                           ARE.COM
   10   EHRLICH & CRAIG LLP                CONTACT: MILES EHRILCH  LEGAL FEES                                                                                 $69,474.00
        803 HEARST AVENUE                  PHONE: (510) 548-3600
        BERKELEY, CA 94710                 MILES@EHRLICH-CRAIG.COM

   11   SOLVAY USA INC.                    CONTACT: MITCHELL STIER TRADE DEBT                     C                                                           $65,000.00
        504 CARNEGIE CENTER                PHONE: 6098604000
        ATTN: GENERAL COUNSEL              FAX: 6098602250
        PRINCETON, NJ 08540                MITCHELL.STIER-
                                           EXT@SOLVAY.COM;
                                           THOMAS.CANOVA@SOLVAY.
                                           COM
   12   MSR MECHANICAL LLC                 CONTACT: JASON PERRY        TRADE DEBT                                                                             $60,267.35
        4501 CALIFORNIA COURT              PHONE: 9256812797
        BENICIA, CA 94510                  JLAMB@MSRMECH.COM
   13   JUSTWORKS                          CONTACT: MICHAEL SECKLER TRADE DEBT                  C, U, D                                                       $57,113.76
        55 WATER STREET, FLOOR 29          PHONE: 8885341711
        ATTN: ALI WAHLIN                   MSECKLER@JUST.WORKS.CO
        NEW YORK, NY 10041                 M

   14   LINDE GAS & EQUIPMENT INC.         CONTACT: GENERAL            TRADE DEBT                 D                                                           $27,347.82
        DEPT LA 21511                      COUNSEL
        PASADENA, CA 91185-1511            PHONE: 184454633
                                           FAX: 18007729985
                                           CONTACTUS@LINDE.COM
   15   DOME CONSTRUCTION                  CONTACT: GENERAL            TRADE DEBT                U, D                                                         $24,246.00
        CORPORATION                        COUNSEL
        393 E GRAND AVE                    PHONE: 6504165600
        SOUTH SAN FRANCISCO, CA 94080      FAX: 6504165602
                                           CONTACTUS@DOMEBUILDS.
                                           COM
   16   CALIFORNIA COMPRESSION, LLC        CONTACT: GENERAL       TRADE DEBT                                                                                  $24,118.92
        4659 LAS POSITAS RD                COUNSEL
        LIVERMORE, CA 94551                PHONE: 9256679017
                                           JIM@CALCOMPRESSION.NET

   17   HANGZHOU KEYING CHEM CO., LTD      CONTACT: BOB HAN            TRADE DEBT                                                                             $20,320.00
        JINTONG INTERNATIONAL              PHONE: 8657185378921
        BUILDING, NO 113                   FAX: 8657185378913
        HUAYUANGANG STREET, GONG           DYINFO@DYCNCHEM.COM
        SHU DISTRICT
        HANGZHOU 310015
        CHINA
   18   TERRACON CONSULTANTS, INC.         CONTACT: STEPHANIE PRICE    TRADE DEBT                                                                             $20,162.00
        10841 S. RIDGEVIEW ROAD            PHONE: 9135996886
        OLATHE, KS 66061                   ELPRICE@TERRACON.COM




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                    Page 2
                                 Case 23-11662-KBO                   Doc 1      Filed 10/03/23               Page 12 of 14
  Debtor: Zymergen Inc., et al.                                                                Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                       professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                       services, and         or disputed     setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                             Total claim, if       Deduction          Unsecured
                                                                                                             partially secured     for value of       claim
                                                                                                                                   collateral or
                                                                                                                                   setoff

   19   ARAMARK UNIFORM & CAREER           CONTACT: DEBBIE ALBERT      TRADE DEBT                 D                                                           $16,785.19
        APPAREL, LLC.                      PHONE: 2152383634
        115 NORTH FIRST STREET             ALBERT-
        BURBANK, CA 91502                  DEBBIE@ARAMARK.COM
   20   AGILENT TECHNOLOGIES INC           CONTACT: BILL SULLIVAN      TRADE DEBT                                                                             $15,702.68
        ATTN LEGAL DEPT                    PHONE: 4083458886
        5301 STEVENS CREEK BLVD            LSCACONTRACTS@AGILENT.
        SANTA CLARA, CA 95051              COM
   21   CHARLES RIVER LABORATORIES         CONTACT: JEFFREY HUNG       TRADE DEBT                                                                             $15,633.00
        GPO BOX 27812                      PHONE: 7812226000
        NEW YORK, NY 10087-7812            JHUNG@VIGENEBIO.COM
   22   DENS FACILITIES SERVICES INC.      CONTACT: GENERAL            TRADE DEBT                C, U                                                         $15,000.00
        405 S. KIMBALL AVENUE              COUNSEL
        SOUTHLAKE, TX 76092                INFO@DENSFS.COM
   23   VERSA ENGINEERING &                CONTACT: FRED FONG          TRADE DEBT                C, U                                                         $14,000.00
        TECHNOLOGY INC                     PHONE: 9254054505
        ATTN EXEC VP                       FAX: 9258874474
        1320 WILLOW PASS RD, STE 500       CONTACT@VERSAET.COM
        CONCORD, CA 94520
   24   SCHINDLER ELEVATOR                 CONTACT: SILVIO NAPOLI   TRADE DEBT                                                                                $13,239.63
        CORPORATION                        PHONE: 9733976500
        20 WHIPPANY ROAD                   MICHELLE.LINK@SCHINDLER.
        MORRISTOWN, NJ 07960               COM
   25   VATIT USA INC. DBA TECEX           CONTACT: GENERAL            TRADE DEBT                                                                             $11,281.18
        1206 LASKIN RD                     COUNSEL
        VIRGINIA BEACH, VA 23451           PHONE: 7574374333
                                           FRANCISCOM@TECEX.COM;
                                           OLIVERN@TECEX.COM
   26   VISTRA                             CONTACT: JIM BURKE          TRADE DEBT                 D                                                           $11,271.08
        31ST JAMES AVE                     INVESTOR@VISTRACORP.CO
        BOSTON, MA 02116                   M
   27   COOLEY LLP                         CONTACT: SHANNON EAGAN LEGAL FEES                                                                                   $5,195.00
        3175 HANOVER STREET                PHONE: 650 843 5909
        PALO ALTO, CA 94304-1130           SEAGAN@COOLEY.COM

   28   CONIFER POINT PHARMACEUTICALS      CONTACT: JOHN KULP      TRADE DEBT                    C, U                                                          $5,000.00
        LLC                                PHONE: 2155896367
        3805 OLD EASTON ROAD               JOHN.KULP@CONIFERPOINT.
        ATTN: JOHN L. KULP III             COM
        DOYLESTOWN, PA 18902
   29   THERMA HOLDINGS LLC                CONTACT: MIKE FISHER TRADE DEBT                                                                                     $4,792.00
        1601 LAS PLUMAS AVE                PHONE: 4083473400
        SAN JOSE, CA 95133                 BCORCORAN@THERMA.COM

   30   PLATO HQ                           CONTACT: GENERAL            TRADE DEBT                                                                              $4,776.00
        251 LITTLE FALLS DRIVE             COUNSEL
        WILMINGTON, DE 19808               HELLO@PLATOHQ.COM




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re                                                      Chapter 11

    ZYMERGEN INC., et al.                                      Case No. __-_____ (___)

                                     Debtors.1


       CORPORATE OWNERSHIP STATEMENT AND LIST OF EQUITY INTEREST
      HOLDERS PURSUANT TO FED. R. BANKR. P. 1007(a)(1), 1007(a)(3), AND 7007.1

                    Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of

Bankruptcy Procedure, the above-captioned debtor and debtor in possession, to the best of its

knowledge, information, and belief, hereby states as follows:

                    Zymergen Inc. is 100% owned by Ginkgo Bioworks Holdings, Inc., whose address

is 27 Drydock Avenue, 8th Floor, Boston, Massachusetts. Lodo Therapeutics Corporation,

enEvolv, Inc., and Genesis Acquisition Sub, LLC are each 100% owned by Zymergen Inc., whose

address is 1440 Stanford Avenue, Emeryville, California 94608.




1
            The Debtors in these chapter 11 cases, along with the Debtors’ federal tax identification numbers,
            are Zymergen Inc. (2439), Lodo Therapeutics Corporation (8730), enEvolv, Inc. (2402), and
            Genesis Acquisition Sub, LLC (3640). The corporate headquarters and the mailing address for the
            Debtors is 1440 Stanford Ave., Emeryville, California 94608.
                                 Case 23-11662-KBO                 Doc 1          Filed 10/03/23               Page 14 of 14

 Fill in this information to identify the case and this filing:


              Lodo Therapeutics Corporation
 Debtor Name __________________________________________________________________

 United States Bankruptcy Court for the: ______________________ District of Delaware
                                                                            __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

         
         X Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         
         X Other document that requires a declaration__________________________________________________________________________________
                                                      Corporate Ownership Statement and List of Equity Interest Holders




        I declare under penalty of perjury that the foregoing is true and correct.


                    10/03/2023
        Executed on ______________                          /s/ Claire Smith
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                               Claire Smith
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Senior Vice President of Finance
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
